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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION



  ROTHSCHILD BROADCAST                §
  DISTRIBUTION SYSTEMS, LLC           §
                                      §
        Plaintiff,                    §           Case No: 2:16-cv-00385-RWS
                                      §
        vs.                           §           LEAD & CONSOLIDATED CASE
                                      §
  AT&T SERVICES, INC.                 §
                                      §
.       Defendant.                    §
  ___________________________________ §

                                          ORDER

         On this day the Court considered the Unopposed Motion of Plaintiff Rothschild
  Broadcast Distribution Systems, LLC to Dismiss all claims against Defendant AT&T Services,
  Inc. with prejudice (Docket No. 50). It is therefore ORDERED that all claims asserted by
  Plaintiff Rothschild Broadcast Distribution Systems, LLC against Defendant AT&T Services,
  Inc. are hereby DISMISSED WITH PREJUDICE, with each party to bear its own costs,
  expenses and attorneys’ fees.

  So ORDERED and SIGNED this 19th day of October, 2016.




                                                ____________________________________
                                                ROBERT W. SCHROEDER III
                                                UNITED STATES DISTRICT JUDGE
